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UNITED STATES DISTRICT COURT
WESTERN DISTRlCT OF TENNESSEE
Eastern Division

 

UNITED STATES OF AMERICA

~vs- Case No. 1:04cr10013-002-T

MATTHEW CHRISTOPHER WH]TLEY

 

ORDER OF` TEMPORARY DETENTION
PENDING HEARING' PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a detention hearing is set for
TUESDAY, AUGUST 30, 2005 at 2: 15 P.M. before United States Magistrate Judge S. Thomas
Anderson in Courtroom No. 2, Fourth Floor, United States Courthouse and Federal Building, ll l
South l-lighland, Jacl<son, TN. Pending this hearing, the defendant shall be held in custody by the
United States Marshal and produced for the hearing

Date: August 26, 2005 [
howell LQ/M-~

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

 

llfnot held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon
motion ofthe government, or up to five days upon motion ofthe defendant 18 U.S.C. § 3142(1‘)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(0 are present Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion ofthe attorney for the government or upon thejudicial officer's own motion, ifthere is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruetjustiee1 or threaten, injure, Or intimidate or attempt to threaten,
injure, or intimidate a prospective witness orjuror.

AO 4?0 tSfB§l Order of Ternporary Detention

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-v:th Ftu|e 55 and/or 32(|0) FHCrP on 81 § QZ l 2 § §

  
 

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Notice of Distribution

This notice confirms a copy of` the document docketed as number 91 in
case 1:04-CR-10013 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

 

Richard L. Finney

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Honorable .l ames Todd
US DISTRICT COURT

